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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

                                CASE NO. 2:18-cv-413-FtM-66NPM

   COREY MILLEDGE,

                 Plaintiff,
   v.

   WILLIS, et al.,

               Defendants.
   _______________________________/

                      DECLARATION OF KELLIE CASWELL, RN, BSN

   I, KELLIE CASWELL, RN, BSN hereby states the following:

   1.     I am in the employment of the Florida Department of Corrections (“FDC”) as a Legal Nurse
          Consultant for the Office of Health Services. From 1994 through 2000, I was a Licensed
          Practical Nurse. I have been a Registered Nurse since 2000 and obtained my Bachelor of
          Science in Nursing degree in 1999. I have been the Legal Nurse Consultant for the Florida
          Department of Corrections since October 2019.

   2.     Prior to working for FDC, I was a Registered Nurse Consultant for the Department of
          Financial Services (‘DFS’) for 2 years. Prior to DFS, I was a Registered Nurse Consultant
          with the Agency for Health Care Administration (‘AHCA’) for 8 years. I have also worked
          in the private sector as a Registered Nurse for approximately 7 years.

   3.     My current job duties include documentation review of medical records and evaluate and
          render my opinion as to the medical care, treatment, and diagnosis of specific inmates and
          by staff as related to active litigation within my scope of practice. As part of my regular
          duties I am an employee familiar with the manner and process in which inmate medical
          records are created and maintained by virtue of my duties and responsibilities

   4.     I have reviewed the relevant records of Plaintiff, Inmate Corey Milledge, regarding an
          incident date of August 15, 2017, in order to render my medical opinion and to explain
          certain terminology and medical conditions contained within those records. Specifically, I
          have reviewed the medical records of Corey Milledge as follows: FDC Medical Records
          and Fawcett Memorial Hospital. References are made within this affidavit to the Bates
          Stamp # located on the bottom middle of each page, where necessary.

   5.     After a review of the medical records, and based upon my training and experience, the
          following is my medical opinion.




                                                                             Def MSJ BS# 090
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                                                             Def MSJ BS# 091
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                                                             Def MSJ BS# 092
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                                                             Def MSJ BS# 093
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                                                             Def MSJ BS# 094
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                                                                       Def MSJ BS# 095
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                                                                       Def MSJ BS# 096
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                                                                       Def MSJ BS# 097
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                                                                       Def MSJ BS# 098
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                                                                       Def MSJ BS# 099
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                                                                       Def MSJ BS# 100
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                                                                       Def MSJ BS# 101
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                                                                       Def MSJ BS# 102
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                                                                       Def MSJ BS# 103
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                                                                       Def MSJ BS# 104
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                                                                       Def MSJ BS# 105
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                                                                       Def MSJ BS# 106
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                                                                       Def MSJ BS# 107
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                                                                       Def MSJ BS# 108
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                                                                       Def MSJ BS# 109
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                                                                       Def MSJ BS# 110
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                                                                       Def MSJ BS# 111
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                                                                       Def MSJ BS# 112
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                                                                       Def MSJ BS# 113
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                                                                       Def MSJ BS# 114
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                                                                       Def MSJ BS# 115
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                                                                       Def MSJ BS# 116
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                                                                       Def MSJ BS# 117
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                                                                       Def MSJ BS# 118
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                                                                       Def MSJ BS# 119
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                                                                       Def MSJ BS# 120
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                                                                       Def MSJ BS# 121
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                                                                       Def MSJ BS# 122
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                                                                       Def MSJ BS# 123
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                                                                       Def MSJ BS# 124
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                                                                       Def MSJ BS# 125
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                                                                       Def MSJ BS# 126
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                                                                       Def MSJ BS# 127
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                                                                       Def MSJ BS# 128
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                                                                       Def MSJ BS# 129
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                                                                       Def MSJ BS# 130
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                                                                       Def MSJ BS# 131
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                                                                       Def MSJ BS# 132
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                                                                       Def MSJ BS# 133
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                                                                       Def MSJ BS# 134
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                                                                       Def MSJ BS# 135
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                                                                       Def MSJ BS# 136
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                                                                       Def MSJ BS# 137
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                                                                       Def MSJ BS# 138
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                                                                       Def MSJ BS# 139
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                                                                       Def MSJ BS# 140
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                                                                       Def MSJ BS# 141
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                                                                       Def MSJ BS# 142
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                                                                       Def MSJ BS# 143
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                                                                       Def MSJ BS# 144
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                                                                       Def MSJ BS# 145
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                                                                       Def MSJ BS# 146
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                                                                       Def MSJ BS# 147
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                                                                       Def MSJ BS# 148
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                                                                       Def MSJ BS# 149
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                                                                       Def MSJ BS# 150
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                                                                       Def MSJ BS# 151
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                                                                       Def MSJ BS# 152
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 2333
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                                                                       Def MSJ BS# 153
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                                                                       Def MSJ BS# 154
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 2335
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                                                                       Def MSJ BS# 155
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                                                                       Def MSJ BS# 156
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                                                                       Def MSJ BS# 157
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                                                                       Def MSJ BS# 158
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                                                                       Def MSJ BS# 159
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                                                                       Def MSJ BS# 160
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                                                                       Def MSJ BS# 161
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                                                                       Def MSJ BS# 162
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                                                                       Def MSJ BS# 163
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                                                                       Def MSJ BS# 164
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                                                                       Def MSJ BS# 165
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3114
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                                                                       Def MSJ BS# 166
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                                                                       Def MSJ BS# 167
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                                                                       Def MSJ BS# 168
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                                                                       Def MSJ BS# 169
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3118
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                                                                       Def MSJ BS# 170
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                                                                       Def MSJ BS# 171
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3120
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                                                                       Def MSJ BS# 172
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                                                                       Def MSJ BS# 173
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                                                                       Def MSJ BS# 174
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                                                                       Def MSJ BS# 175
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                                                                       Def MSJ BS# 176
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                                                                       Def MSJ BS# 177
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3126
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                                                                       Def MSJ BS# 178
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3127
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                                                                       Def MSJ BS# 179
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3128
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                                                                       Def MSJ BS# 180
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3129
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                                                                       Def MSJ BS# 181
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3181
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                                                                       Def MSJ BS# 182
                       Ms. Caswell, R.N. BSN; Ref Bates Stamp # 3182
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                                                                       Def MSJ BS# 183
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                                                                       Def MSJ BS# 184
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                                                                       Def MSJ BS# 185
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                                                                       Def MSJ BS# 186
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                                                                       Def MSJ BS# 187
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                                                                       Def MSJ BS# 188
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                                                                     Def MSJ BS# 189
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                                                                     Def MSJ BS# 190
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                                                                     Def MSJ BS# 191
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                                                                     Def MSJ BS# 192
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